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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                        v.
 JENNY CUDD,
                                                       Case No. 1:21-cr-00068 (TNM)
                        Defendant.


                                              ORDER

        Jenny Cudd moves to alter the Court’s judgment against her denying her the right to

possess a firearm while on supervision. See Mot. to Alter Judgment, ECF No. 96. A restriction

on the right to possess a firearm is a discretionary condition of probation, not a mandatory one.

See 18 U.S.C. § 3563(b). A discretionary condition can only be imposed by the Court “to the

extent that such conditions are reasonably related to the factors set forth in section 3553(a)(1)

and (a)(2) and to the extent that such conditions involve only such deprivations of liberty or

property as are reasonably necessary for the purposes indicated in section 3553(a)(2).” Id. Cudd

contends that because she has a nonviolent misdemeanor conviction, the firearms restriction is

not reasonably related to her conviction. Mot. to Alter at 1–3. More, Cudd maintains she has

been threatened for her role in the Capitol on January 6 and needs a weapon to defend herself.

Id. at 3–4.

        The Government opposes the motion. See Opp’n to Def.’s Mot. to Alter J., ECF No. 99.

It argues this condition of supervision is reasonably related to “the need for the sentence imposed

to reflect the seriousness of the offense, to promote respect for the law, and to provide just

punishment for the office, and the need for the sentence imposed to afford adequate deterrence to

criminal conduct.” Id. at 5 (citing 18 U.S.C. §§ 3553(a)(2)(A) and (a)(2)(B)). The Government

describes Cudd as courting violence. It highlights that she wore a bulletproof sweatshirt to the
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Capitol, knew law enforcement was pepper spraying rioters, and yet continued into the building.

Opp’n at 5–6. The Government also points to several statements Cudd made, including:

“[W]hen Pence betrayed us is when we decided to storm the Capitol”; “I’m proud of everything

that I was part of today”; and “Yes, I would absolutely do it again.” Id. at 2.

       The Government argues these statements, together with Cudd’s bulletproof sweatshirt,

are indicative of violence. See id. at 6. And it claims that if Cudd does possess a firearm, she

could be a danger to probation officers overseeing her on supervision. Id. at 7. But the

Government presented no evidence that Cudd incited anyone to violence. Nor did it present

evidence that she participated in violence. She has no prior criminal history. And Cudd’s bullet

proof sweatshirt is consistent with her fear of being attacked at the rally preceding her entry into

the Capitol. This says nothing about her danger to others.

       Cudd credibly claims that she has been threatened and needs protection. See Mot. to

Alter at 3–4. At sentencing, the Court and the Government acknowledged the harassment she

has faced. And “the inherent right of self-defense has been central to the Second Amendment

right.” Dist. of Colum. v. Heller, 554 U.S. 570, 628 (2008). The Court will not limit that right

for a nonviolent misdemeanant who credibly fears for her safety.

       For all these reasons, it is hereby

       ORDERED that Cudd’s [96] Motion to Alter Judgment is GRANTED. Standard

Condition 10, USSG §5B1.3(c)(1), is removed from Cudd’s terms of probation.

       SO ORDERED.


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Dated: April 7, 2022                                  TREVOR N. McFADDEN, U.S.D.J.



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